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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA, et al.,

                                    Plaintiffs,
                      v.                                   Case No: 5:21-cv-01136-F

JOSEPH R. BIDEN, JR., et al.,

                                    Defendants.

                           PLAINTIFFS’ STATUS REPORT

       Plaintiffs previously reported that all but two of them had voluntarily dismissed their

claims in this action. See Status Report (ECF No. 80). Plaintiffs file this status report to

inform the Court that the two remaining Plaintiffs—Regina L. Gritsavage, M.D. and

Matthew Guernsey—have also determined that they will voluntarily dismiss their claims.

Accordingly, Plaintiffs are concurrently filing a final notice of voluntary dismissal, after

which all claims will have been dismissed and this action should be closed.

March 7, 2023                              Respectfully submitted,

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